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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 NEWNAN DIVISION


IN RE:                                       :       CHAPTER 11
                                             :
ANTHONY B. FREEMAN,                          :       CASE NO. 09-12732
                                             :
         DEBTOR.                             :       JUDGE W. H. DRAKE
                                             :


               DEBTOR'S FIRST AMENDED PLAN OF REORGANIZATION

         This First Amended Plan of Reorganization is proposed by Anthony B. Freeman, Debtor

and Debtor-in- Possession (“Freeman” or “Debtor”), for the resolution of its outstanding creditor

claims. All creditors are encouraged to consult the Disclosure Statement before voting to accept

or reject this Plan. The Disclosure Statement contains a discussion of the Debtor's history, a

description of its property and a summary and analysis of the Plan.


                                      Article I: Definitions
         A. Defined Terms.

   The following terms have the following meanings (such meanings to be equally applicable to

both the singular and plural forms of the terms defined) whenever used in the Plan.

         1.    Administrative Claim: Administrative Claim means any Claim for any cost or

expense of administration in connection with the Chapter 11 case, in accordance with § 503(b) of

the Code, including, without limitation:

         (a)   The actual, necessary costs and expenses of preserving the Debtor's estate and of

operating the business of the Debtor (other than such claims or portions thereof which, by their

express terms, are not due or payable by the Effective Date);




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        (b)    The full amount of all claims for allowances of compensation for legal or other

professional services or reimbursement of costs and expenses under § 330 or § 503(b) of the

Code or otherwise allowed by the Bankruptcy Court; and

        (c)    All fees and charges assessed against the Debtor's estate under Chapter 123 of

Title 28, United States Code.

        2.     Allowed Claim or Allowed Interest: Allowed Claim or Allowed Interest means a

claim against the Debtor to the extent that: (a) a proof of such claim or interest was (i) timely

filed, or (ii) deemed filed pursuant to § 1111(a) of the Bankruptcy Code; and (b)(i) which is not

objected to, or (ii) which is allowed (and only to the extent allowed) by an order of the

Bankruptcy Court that has become final and not subject to possible appeal, review, certiorari or

stay.

        3.     Bankruptcy Code or Code: Bankruptcy Code or Code means Title 11 of the

United States Code, 11 U.S.C. §§ 101 et seq. as amended.

        4.     Ballot: Ballot means the written instrument mailed by the Debtor to the holders

of impaired Claims by which such holders may vote to accept or reject the Plan. The Ballot must

be received by counsel for the Debtor on or before the date fixed in the order approving the

Disclosure Statement.

        5.     Case: Case means the bankruptcy case of the Debtor, Chapter 11 Case No. 09-

12732, presently pending before the United States Bankruptcy Court for the Northern District of

Georgia, Atlanta Division.

        6.     Causes of Action: Causes of Action means any and all actions, causes of action,

suits, accounts, controversies, agreements, promises, rights to legal remedies, right to equitable

remedies, right to payment and claims, whether known or unknown, reduced to judgment, not



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reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,

undisputed, secured or unsecured, and whether asserted or assertable, directly or derivatively, in

law, equity or otherwise. Causes of Action includes any claims specifically described in the

Disclosure Statement or others listed on Schedule B of the Debtor's Schedule of Assets and

Liabilities, incorporated herein by this reference.

       7.      Claim: Claim means any right to payment, whether or not such right is reduced to

judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,

legal, equitable, secured or unsecured, as defined in Section 101(5) of the Code, arising before

the Petition Date.

       8.      Claimant: Claimant means the holder of a claim.

       9.      Class: Class means a grouping of substantially similar claims or interests as

designated in Article III of the Plan.

       10.     Court: Court or Bankruptcy Court means the United States Bankruptcy Court for

the Northern District of Georgia, Atlanta Division, or such other court as may have jurisdiction

over this Chapter 11 case and, with respect to any particular proceeding arising under, in or

relating to this Chapter 11 case, any other court which may have jurisdiction over such

proceeding.

       11.     Creditor: Creditor means all entities with claims against the Debtor or the Estate.

       12.     Debtor or Freeman: Debtor or Freeman means, Anthony B. Freeman.

       13.     Debtor-in-Possession: Debtor-in-Possession means the Debtor, when exercising

its rights, powers, and duties under Section 1107(a) of the Code and all other Sections of the

Code made applicable thereby.




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       14.     Disclosure Statement: Disclosure Statement means the Disclosure Statement filed

concurrently herewith and as ultimately approved by the Court.

       15.     Disputed Claim: Disputed Claim means a claim which has been listed as

disputed, contingent or unliquidated on Debtor’s schedules or which Debtor has asserted an

objection to which is not an “Allowed Claim.”

       16.     Effective Date: Effective Date means the date thirty (30) days following entry of

an order by the Court confirming the Plan (the “Confirmation Date”).

       17.     Estate: Estate means the bankruptcy estate created upon commencement of the

Case pursuant to Section 541(a) of the Code.

       18.     Executory Contracts and Unexpired Leases: Executory Contracts and Unexpired

Leases means those contracts and leases to which the Debtor is a party that have not been

assumed or rejected by the Debtor-in-Possession pursuant to Section 365 of the Code by motion

or in the Plan nor otherwise terminated before the Effective Date.

       19.     Final Confirmation: Final Confirmation means the date upon which the order

entered by the Court confirming the Plan becomes a Final Order.

       20.     Final Order: Final Order means an order of the Court that has been entered and

either: the time for appeal from such entered order has expired with no appeal having been filed

timely; or any appeal that had been filed timely has been dismissed or otherwise finally

determined.

       21.     General Unsecured Claims: General Unsecured Claims means unsecured claims

that are not Administrative Claims, Tax Claims, Wage Claims, any other type of Priority Claim

or claims not otherwise separately classified in the Plan.




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       22.     Impaired: Impaired shall have the meaning provided in Section 1124 of the Code.

       23.     Lien: Lien has the meaning provided by Section 101(37) of the Code.

       24.     Plan: Plan means this Plan of Reorganization proposed by Anthony B. Freeman,

including any amendment or modification made in accordance with the applicable provisions of

the Code.

       25.     Order of Confirmation: Order of Confirmation means the order of the Court

confirming the Plan pursuant to Section 1129 of the Code.

       26.     Petition Date: Petition Date means October 6, 2008, the date upon which the

voluntary bankruptcy petition was filed by the Debtor.

       27.     Priority Claim: Priority Claim means any Claim entitled to priority treatment

pursuant to Section 507 of the Code.

       28.     Property of the Estate: Property of the Estate has the meaning provided by

Section 541 of the Code.

       29.     Reorganized Debtor: Reorganized Debtor means Debtor, Anthony B. Freeman,

following the Effective Date.

       30.     Secured Claim: Secured Claim means any claim secured by a lien on property of

the Estate to the extent of the value of the collateral as provided in Section 506 of the Code,

which lien was perfected in accordance with applicable law prior to the Petition Date.

       31.     Secured Creditor: Secured Creditor means National City Mortgage, National

City Bank, Wachovia Bank, N.A., Aurora Loan Services, and any other creditor having a secured

claim against the property of the Estate.

       32.     Tax Claim: Tax Claim means any claim entitled to priority treatment pursuant to

Section 507(a)(8) of the Code.



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       B. Undefined Terms.

       A term used in the Plan and not defined herein which is defined in the Bankruptcy Code

or Rules has the meaning ascribed to such term in the Bankruptcy Code or Rules.

                       Article II: Classification of Claims and Interests

       Unclassified Claims are those claims that are not considered impaired and holders of such

claims do not vote on the Plan. The following are the Unclassified Claims as defined herein:

       1.      Administrative Expenses:      Administrative Claims shall include those claims

arising from the administering of Debtor’s chapter 11 case, including attorneys’ fees,

accountants, appraisers, and other professionals retained by Debtor prior to the filing of the

petition and/or authorized by Court order.

       All Allowed Claims and Allowed Interests are placed in the following classes.

       A. Secured Claims:

       1.      Class 1: Class 1A consists of the Allowed Claims of the United States Internal

Revenue Service that are entitled to priority pursuant to § 507(a)(8) of the Bankruptcy Code

       2.      Class 2A: Class 2A consists of the Allowed Claims of National City Mortgage

secured by the Debtor’s property located at 210 Standing Oak Place, Fairburn, GA (the

“Standing Oak Place Property”).

       3.      Class 2B: Class 2B consists of the Allowed Claims of National City Bank secured

by the Debtor’s Standing Oak Place Property.

       4.      Class 2C: Class 2C consists of the Allowed Claims of Wachovia Bank, N.A.

secured by the Debtor’s Standing Oak Place Property.

       5.      Class 2D: Class 2D consists of the Allowed Claims of Aurora Loan Services

secured by the Debtor’s property located at 935 North Avenue, Atlanta, GA (the “North Avenue



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Property”).

       B. General Unsecured Claims:
       Class 3: Class 3 consists of general unsecured claims.

       Classes 2A, 2B, 2C, 2D and 3 shall be considered separate for purposes of determining

whether the Plan has been accepted by one impaired class.

                   Article III:   Treatment of Certain Unclassified Claims

       The holders of allowed Administrative Claims shall receive, on account of such claims,

cash in the amount of such claims (i) as soon as practical on or after the Effective Date or (ii) at

the option of the Debtor, in accordance with the ordinary business terms of the payment of such

claims. Professionals employed at the expense of the estate of the Debtor and entities who may

be entitled to reimbursement or the allowance of fees and expenses from the estate of the Debtor,

pursuant to § 330 or § 503(b)(2) to (6) of the Bankruptcy Code, shall receive cash in the amount

awarded to such professionals and entities at such times and only in accordance with a final order

entered pursuant to § 330 or § 503(b)(2) to (6) of the Bankruptcy Code.

       Debtor estimates that $25,000.00 will be owed for Professional Fees through

confirmation of the Plan. To the extent Debtor’s Professional Fees have not been paid in full,

Professional Fees will be paid on the Effective Date of the Plan or according to separate written

agreement or court order if such fees have not been approved by the Court on the Effective Date

of the Plan. Debtor does not estimate that any amounts are owed for expenses arising in the

ordinary course of business after the petition date, other administrative fees, and U.S. Trustee

fees. To the extent such expenses have not been paid, these expenses will be paid on the

Effective Date of the Plan or in accordance with a written agreement or order of the Court.

               Article IV:    Designation and Treatment of Unimpaired Classes

       None.

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                  Article V:      Treatment of Impaired Claims and Interests

        A. General.

        All classes of claims and classes of interest are impaired under the Plan.      All impaired

classes of claims and classes of interest shall receive the distributions set forth in this Article on

account of and in complete satisfaction of all such Allowed Claims (and any interest accrued

thereon) and Allowed Interests. Without limiting the foregoing and effective upon the Effective

Date, each creditor and each equity security holder (or its successor) shall be deemed to have

assigned to the Debtor and all such parties shall be deemed to have waived, relinquished and

released any and all of their rights and claims against the Debtor (other than as provided for in

the Plan or the Court's order confirming the Plan).

        B.     Secured Claims

        1. Class 1A (Priority Tax Claims): The Internal Revenue Service has filed a Proof of

Claim in the amount of $9,730.39, which was subsequently amended to $0.00. To the best of

Debtor’s knowledge, no sums are owed to the IRS for pre-petition tax claims and taxes are

current on a post-petition bases. To the extent Class 1A Claims have not been satisfied prior to

the effective date, this claim shall be paid within thirty (30) days of the Effective Date of the

Plan.

        2. Class 2A (National City Mortgage): The holder of the Class 2A Claim shall retain the

lien securing its claim, but all prepayment restrictions, penalties, assumption fees and

prohibitions on prepayment, assumption, sale or encumbrance shall be deleted therefrom. The

secured claim of National City Mortgage shall be deemed to be $277,338.75 (which includes the

principal balance of $274,200.49 plus the arrearage of $3,138.26 per NCM’s Proof of Claim),

less any post-petition payments made to NCM during the pendency of this case. NCM shall be



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paid the amount of the Allowed Claim, together with simple interest at the rate of 6.375% per

annum, according to the terms of the pre-petition loan documents between NCM and Debtor,

except as modified herein on the Effective Date of the Plan. The monthly payments will be in

the amount of $2,681.98 until the loan is paid in full. Upon the Effective Date, the NCM loan

shall be deemed reinstated, all defaults cured, with the provisions of the Plan to be controlling.

The first installment payment under the Plan shall be made on the first day of the first month

after the Effective Date.

3.     Class 2B (National City Bank): The secured claim of National City Bank appears to be in

the amount of $120,241.21 (which includes the principal balance of $113,975.01 plus the

arrearage of $6,266.20 per NCB’s Proof of Claim), less any post-petition payments made to

NCB during the pendency of this case which shall be credited against NCB’s secured claim and

applied to principal and interest at the non-default rate under the loan documents. An appraisal

of the Debtor’s property dated 12/16/2008 indicates that the property at issue had an estimated

value of $298,500.00. Therefore NCB’s lien is completely undersecured. The holder of the

Class 2B claim shall be crammed down and deemed the equal to the value of the Standing Oak

Property, less the Allowed amounts of the Class 2A claim, less any post-petition payments made

to NCB during the pendency of this case which shall be credited against NCB’s secured claim

and applied to principal and interest at the non-default rate under the loan documents (the

“Cramdown Amount”).          The Cramdown Amount is estimated to be $0.00, therefore, NCB’s

claim shall be treated as a wholly unsecured claim and upon confirmation of the Plan NCB shall

retain no lien against the Standing Oaks Property. Debtor may also file a Complaint to Avoid

NCB’s lien against the Standing Oaks Property.




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4.     Class 2C (Wachovia Bank, N.A.): The secured claim of Wachovia Bank, N.A. appears to

be deemed to be $32,109.60 pursuant to WB’s Proof of Claim.               Therefore WB’s lien is

completely undersecured. The holder of the Class 2B claim shall be crammed down and deemed

the equal to the value of the Standing Oak Property, less the Allowed amounts of the Class 2A

claim, less any post-petition payments made to WB during the pendency of this case which shall

be credited against WB’s secured claim and applied to principal and interest at the non-default

rate under the loan documents (the “Cramdown Amount”).                The Cramdown Amount is

estimated to be $0.00, therefore, WB’s claim shall be treated as a wholly unsecured claim and

upon confirmation of the Plan WB shall retain no lien against the Standing Oaks Property.

Debtor may also file a Complaint to Avoid WB’s lien against the Standing Oaks Property.

       5.      Class 2D (Aurora Loan Services): The holder of the Class 2D Claim shall retain

the lien securing its claim, but all prepayment restrictions, penalties, assumption fees and

prohibitions on prepayment, assumption, sale or encumbrance shall be deleted therefrom. The

secured claim of Aurora Loan Services shall be deemed to be $53,234.05, less any post-petition

payments made to ALS during the pendency of this case which shall be credited against ALS’s

secured claim and applied to principal and interest at the non-default rate under the loan

documents. Upon the Effective Date, the ALS loan shall be deemed reinstated, all defaults cured

and the ALS Loan Documents shall be modified so as to be consistent with the terms of the Plan,

as confirmed, with the provisions of the Plan to be controlling. The first installment payment

under the Plan shall be made on the first day of the first month after the Effective Date.

       C.      Unsecured Claims

       Class 3 (General Unsecured Claims): The holders of Class 3 Allowed Claims shall be

paid a pro rata distribution equal to 5.0% of their Allowed Claim, without interest, over a period



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of five (5) years in equal monthly installments of $489.35 each commencing thirty (30) days

from the Effective Date.

        D.     Cramdown.

        In the event any of the above classes reject the Plan, it is anticipated that the Debtor will

seek to obtain confirmation of the Plan notwithstanding the rejection pursuant to 11 U.S.C. §

1129(b).

                           Article VI: Means for Execution of the Plan

        A.     Source of Operating Funds.

        Debtor's projections show that there will be sufficient net operating income to pay all

administrative expenses and all classes of claims as provided under the Plan.

        B.     Debtor’s Estate and Continuation of Debtor’s Business

        Debtor, as reorganized, will retain all property of the estate, excepting property which is

to be sold or otherwise disposed of as provide for herein, executory contracts which are rejected

pursuant to this Plan, and property transferred to creditors of Debtor pursuant to the express

terms hereof. Further details concerning the nature and scope of Debtor’s means of funding the

Plan and projected income may be found in the Disclosure Statement, which accompanies this

Plan.

        C.     De Minimis Distributions.

        Notwithstanding anything to the contrary herein, no distributions of cash shall be made

hereunder in an amount less than $10.00. All cash not distributed pursuant to this provision shall

vest in the Debtor free of any claim.

                              Article VII:    Effect of Confirmation

        Except as otherwise provided in the Plan or the Court's Order confirming the Plan (the



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“Confirmation Order”), the confirmation Order acts as a discharge, effective as of the Effective

Date, of any and all debts of the Debtor that arose at any time before the entry of the

Confirmation Order, including, but not limited to, all principal and any and all interest accrued

thereon, pursuant to § 1141(d)(1) of the Bankruptcy Code. The discharge of the Debtor shall be

effective as to each claim, regardless of whether a proof of claim thereof was filed, whether the

claim is an Allowed Claim or whether the holder thereof votes to accept the Plan.

                    Article VIII: Retention and Enforcement of Claims

       Pursuant to § 1123(b)(3) of the Bankruptcy Code, the Reorganized Debtor shall retain

and may enforce any and all claims of the Debtor, except claims waived, relinquished or released

in accordance with the Plan.

                                Article IX:     Executory Contracts

       All executory contracts of the Debtor are rejected pursuant to the provisions of §§ 365

and 1123 of the Bankruptcy Code.

                                     Article X:        Revesting

       Except as provided for in the Plan or in the Confirmation Order, on the Effective Date the

Reorganized Debtor shall be vested with all of the property of its estate free and clear of all

claims, liens, charges and other interests of creditors arising prior to the Confirmation Date.

Upon the Effective Date, the Reorganized Debtor shall operate free of any restrictions.

                              Article XI:     Retention of Jurisdiction

       Notwithstanding confirmation of this Plan, the Bankruptcy Court shall retain jurisdiction

for the following purposes:

       A.      Determination of the allowability of claims and interests upon objection to such

claims by the Debtor, the Reorganized Debtor or any other party in interest.



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       B.      Determination of requests for payment of claims entitled to priority under §

507(a)(1) of the Bankruptcy Code, including compensation of parties entitled thereto.

       C.      Resolution of controversies and disputes regarding the interpretation or

enforcement of the terms of the Plan, any of the instruments issued under the Plan or any other

documentation evidencing the terms of the Plan.

       D.      Implementation of the provisions of the Plan and entry of orders in aid of

confirmation of the Plan, including, without limitation, appropriate orders to protect the

Reorganized Debtor.

       E.      Entry of a final decree closing the Debtor's case.

                                 Article XII:     Event of Default

       In the event of any default by Debtor under the Loan Documents, as amended or replaced

by this Plan, that is not cured within thirty (30) days following written notice, holders of allowed

secured claims, in their discretion, shall be entitled to proceed with foreclosure or any other

possessory remedies in accordance with state law.




                                   Article XIII: Modification of Plan

       1.      This Plan may be modified in accordance with Section 1127 of the Code upon

application of the Debtor, or corrected by the Debtor prior to Confirmation, without notice and a

hearing and without additional disclosure pursuant to Section 1125 of the Code provided that,

after notice to the United States Trustee, the Court finds that such modification does not

materially or adversely affect any creditor or class of creditors.




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        2.     After Confirmation of the Plan, the Debtor or the Reorganized Debtor may

remedy any defect or omission, reconcile any inconsistencies in the Plan or in the Order of

Confirmation, and/or effect such other substantive changes as may be necessary to carry out the

purposes and intent of the Plan. After Confirmation, the Debtor shall have the right to modify

this Plan in accordance with Section 1127 of the Code.

                  Article XIV: Discharge of Debts and Discharge Injunction

Discharge of Debts: Pursuant to section 1141(d)(5) of the Bankruptcy Code, except in limited

circumstances, a discharge is not available to an individual debtor unless and until all payments

have been made under the plan. Therefore, Debtor does not have a right to a discharge until all

the plan payments have been made unless otherwise ordered by the Court pursuant to section

1141(d)(5) of the Bankruptcy Code. Debtors do not waive their right to seek entry of a discharge

order before completion of all plan payments. In the event Debtors seek entry of a discharge

order after the entry of a final decree, Debtors may reopen the Case for purposes of obtaining a

discharge. Additionally, this paragraph shall not be construed as attempting to discharge any debt

that is excepted from discharge pursuant to Bankruptcy Code sections 1141(d)(2) and 523(a)(1).

Upon entry of an order granting Debtor a discharge pursuant to section 1141(d)(5) of the

Bankruptcy Code, except as otherwise specifically provided in this Plan or in the Confirmation

Order, the Distributions and rights that are provided in this Plan shall be in complete satisfaction,

discharge, and release of all Claims, whether known on unknown, against, liabilities of, Liens on,

obligations of, rights against, and Interests in Debtor or his Estate that arose prior to the Effective

Date.




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                                 Article XV: General Provisions

       1.      The Debtor shall request the Court to confirm the Plan pursuant to the provisions

of Section 1129(b) of the Code with respect to any class that is deemed not to have accepted the

Plan and any class that fails to accept the Plan.

       2.      To the extent that the terms of the Plan are inconsistent with the terms of any

agreement or instrument concerning any claim or interest, or any other matter, the terms of the

Plan shall control.

       3.      The Debtor shall execute such other documents and instruments as are necessary

or appropriate to carry out the purposes of this Plan.

       4.      In addition, and at any time, the Court may make such orders or give such

direction as may be appropriate under Section 1142 of the Code.

       5.      For purposes of determining the pro rata amount due to a holder of a claim in a

particular class, the amount of Allowed Claims in that class shall be deemed to be the sum of all

Allowed Claims in the class plus all Disputed Claims in the class. In the event there is an

objection to any claim receiving a distribution, then any distribution payable with regard to such

claims shall be withheld, and reserve for payment shall be made in the full amount of such

claims until such claims become Allowed Claims. Distributions so reserved shall be held in a

segregated account by the Reorganized Debtor (hereinafter the “Unpaid Claims Reserve”). At

such time as such claims become Allowed Claims, the distribution payable with respect to such

Allowed Claims shall be disbursed from the Unpaid Claims Reserve.




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      Dated this _3rd_ day of February, 2011.

                                                 Respectfully submitted,
                                                 Anthony B. Freeman
                                                 By__/s/ Anthony B. Freeman________
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